Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 1 of 27




         Exhibit 1
    Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 2 of 27
                                                 555 New Jersey Ave., NW, Suite 600, Washington, DC 20001
                                                                       PHONE: 202.737.5900 • www.aaup.org




VIA ELECTRONIC MAIL

January 13, 2023

Dr. David Fithian
President
Clark University
Worcester, Massachusetts

Dear President Fithian:

Mr. Ernest Krygier, until recently a teaching professor in the Gustaf H. Carlson School of
Chemistry at Clark University, has sought the advice and assistance of the American
Association of University Professors as a result of an email dated November 4, 2022,
from Provost Sebastián Royo, notifying him of the termination of his services effective
immediately. We understand that the stated basis for this action is “the full slate of
evidence of ongoing behavior constituting ‘lack of fitness/moral turpitude” stemming
from a 2022 Title IX investigation, as well as a “prior documented formal reprimand”
and “letter of notice” from 2013.

The Association’s interest in Professor Krygier’s case is rooted in our longstanding
concern for academic freedom, tenure, and due process, the basic tenets of which are set
forth in the attached 1940 Statement of Principles on Academic Freedom and Tenure. As
you doubtless know, the 1940 Statement was issued jointly by the AAUP and the
Association of American Colleges and Universities. It has received the endorsement of
more than 250 professional organizations and learned societies. Derivative procedural
standards applicable to his case are set forth in the Association’s attached Statement on
Procedural Standards in the Renewal or Nonrenewal of Faculty Appointments and our
Recommended Institutional Regulations on Academic Freedom and Tenure (also
attached). We note relevant provisions of the university’s Faculty Handbook, some of
which conform in essential respects to AAUP recommended standards.

According to the information provided to us by Professor Krygier, he joined the faculty
of Clark University in a full-time capacity in 2008 after teaching in a part-time capacity
beginning in 2004. We understand that Professor Krygier intends to appeal the notice of
nonreappointment.

                                      *      *      *

The 1940 Statement of Principles on Academic Freedom and Tenure calls for a
maximum period of probation not to exceed seven years, with service beyond the
probationary period constituting continuous appointment or tenure. Upon continuance of
full-time service beyond a maximum probationary period, faculty members who so serve
      Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 3 of 27

President Fithian
January 13, 2023
Page 2

are entitled under the 1940 Statement to the protections of tenure. Professor Krygier was
completing his fourteenth year of full-time teaching at the university when he was
notified by the administration that his contract would not be renewed beyond the fall
2022 semester. Professor Krygier had plainly attained continuous tenure under the
provisions of the 1940 Statement of Principles, and thus is entitled through length of
service under these provisions to the safeguards of academic due process that accrue with
tenure in any action to terminate his services.

We appreciate that the administration’s action was in the form of a nonrenewal of a
contract, and that Professor Krygier has the right to appeal pursuant to the Clark
University faculty handbook section II.A.6.(b). A post-dismissal appeal of an
administrative action is not an acceptable substitute for a prior dismissal hearing at which
the administration must offer specific charges and must bear the burden of demonstrating
adequate cause. It is crucial that the Clark University administration provide its faculty
this indispensable safeguard of academic freedom.

We recognize that the information on which this letter is based has been provided to us
primarily by Professor Krygier. We would therefore welcome your comments. If,
however, the facts recounted above are essentially accurate, we recommend that the
notice of November 4 be withdrawn and that future action regarding Professor Krygier, if
any is to be taken, be consistent with the principles and standards referenced above.

We look forward to your response.

Sincerely,




Anita Levy, Ph.D.
Associate Secretary

Enclosures

cc:     Dr. Sebastián Royo, Provost
        Professor Ernest Krygier
Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 4 of 27


        1940 Statement of Principles on Academic
        Freedom and Tenure
        with 1970 Interpretive Comments

        In 1915 the Committee on Academic Freedom and Academic Tenure of the
        American Association of University Professors formulated a statement of prin-
        ciples on academic freedom and academic tenure known as the 1915 Declaration
        of Principles, which was officially endorsed by the Association at its Second An-
        nual Meeting held in Washington, D.C., December 31, 1915, and January 1, 1916.
             In 1925 the American Council on Education called a conference of represen-
        tatives of a number of its constituent members, among them the American
        Association of University Professors, for the purpose of formulating a shorter
        statement of principles on academic freedom and tenure. The statement formu-
        lated at this conference, known as the 1925 Conference Statement on Academic
        Freedom and Tenure, was endorsed by the Association of American Colleges
        (now the Association of American Colleges and Universities) in 1925 and by the
        American Association of University Professors in 1926.
             In 1940, following a series of joint conferences begun in 1934, representa-
        tives of the American Association of University Professors and of the Associa-
        tion of American Colleges agreed on a restatement of the principles that had
        been set forth in the 1925 Conference Statement on Academic Freedom and
        Tenure. This restatement is known to the profession as the 1940 Statement of
        Principles on Academic Freedom and Tenure.
             Following extensive discussions on the 1940 Statement of Principles on
        Academic Freedom and Tenure with leading educational associations and with
        individual faculty members and administrators, a joint committee of the
        AAUP and the Association of American Colleges met during 1969 to reevaluate
        this key policy statement. On the basis of the comments received, and the discus-
        sions that ensued, the joint committee felt the preferable approach was to formu-
        late interpretations of the 1940 Statement from the experience gained in imple-
        menting and applying it for over thirty years and of adapting it to current needs.
             The committee submitted to the two associations for their consideration
        Interpretive Comments that are included below as footnotes to the 1940 State-
        ment.1 These interpretations were adopted by the Council of the American As-
        sociation of University Professors in April 1970 and endorsed by the Fifty-Sixth
        Annual Meeting as Association policy.

            1. The Introduction to the Interpretive Comments notes: In the thirty years since their promulgation,
        the principles of the 1940 “Statement of Principles on Academic Freedom and Tenure” have undergone a
        substantial amount of refi nement. This has evolved through a variety of processes, including customary
        acceptance, understandings mutually arrived at between institutions and professors or their representa-
        tives, investigations and reports by the American Association of University Professors, and formulations
        of statements by that association either alone or in conjunction with the Association of American

        13
 Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 5 of 27
The purpose of this statement is to promote public                    attractive to men and women of ability. Freedom
understanding and support of academic freedom                         and economic security, hence, tenure, are indispens-
and tenure and agreement upon procedures to                           able to the success of an institution in fulfilling its
ensure them in colleges and universities. Institu-                    obligations to its students and to society.
tions of higher education are conducted for the
common good and not to further the interest of                        Academic Freedom
either the individual teacher or the institution as a                 1. Teachers are entitled to full freedom in
whole.2 The common good depends upon the free                            research and in the publication of the results,
search for truth and its free exposition.                                subject to the adequate performance of their
    Academic freedom is essential to these                               other academic duties; but research for
purposes and applies to both teaching and                                pecuniary return should be based upon an
research. Freedom in research is fundamental to                          understanding with the authorities of the
the advancement of truth. Academic freedom in                            institution.
its teaching aspect is fundamental for the                            2. Teachers are entitled to freedom in the
protection of the rights of the teacher in teaching                      classroom in discussing their subject, but they
and of the student to freedom in learning. It                            should be careful not to introduce into their
carries with it duties correlative with rights.3                         teaching controversial matter which has no
    Tenure is a means to certain ends; specifically:                     relation to their subject.4 Limitations of
(1) freedom of teaching and research and of                              academic freedom because of religious or other
extramural activities, and (2) a sufficient degree                       aims of the institution should be clearly stated
of economic security to make the profession                              in writing at the time of the appointment.5
                                                                      3. College and university teachers are citizens,
Colleges. These comments represent the attempt of the
                                                                         members of a learned profession, and officers
two associations, as the original sponsors of the 1940                   of an educational institution. When they speak
“Statement,” to formulate the most important of these                    or write as citizens, they should be free from
refinements. Their incorporation here as Interpretive                    institutional censorship or discipline, but their
Comments is based upon the premise that the 1940                         special position in the community imposes
“Statement” is not a static code but a fundamental                       special obligations. As scholars and educational
document designed to set a framework of norms to guide                   officers, they should remember that the public
adaptations to changing times and circumstances.                         may judge their profession and their institu-
    Also, there have been relevant developments in the law
                                                                         tion by their utterances. Hence they should at
itself reflecting a growing insistence by the courts on due
                                                                         all times be accurate, should exercise appropri-
process within the academic community which parallels
the essential concepts of the 1940 “Statement”; particularly
                                                                         ate restraint, should show respect for the
relevant is the identification by the Supreme Court of                   opinions of others, and should make every
academic freedom as a right protected by the First                       effort to indicate that they are not speaking for
Amendment. As the Supreme Court said in Keyishian v.                     the institution.6
Board of Regents, 385 US 589 (1967), “Our Nation is deeply
committed to safeguarding academic freedom, which is of
                                                                          4. Second 1970 comment: The intent of this statement is
transcendent value to all of us and not merely to the teachers
                                                                      not to discourage what is “controversial.” Controversy is at
concerned. That freedom is therefore a special concern of the
                                                                      the heart of the free academic inquiry which the entire
First Amendment, which does not tolerate laws that cast a
                                                                      statement is designed to foster. The passage serves to
pall of orthodoxy over the classroom.”
                                                                      underscore the need for teachers to avoid persistently
    2. The word “teacher” as used in this document is
                                                                      intruding material which has no relation to their subject.
understood to include the investigator who is attached to
                                                                          5. Third 1970 comment: Most church-related institutions
an academic institution without teaching duties.
                                                                      no longer need or desire the departure from the principle of
    3. First 1970 comment: The Association of American
                                                                      academic freedom implied in the 1940 “Statement,” and we
Colleges and the American Association of University
                                                                      do not now endorse such a departure.
Professors have long recognized that membership in the
                                                                          6. Fourth 1970 comment: This paragraph is the subject of
academic profession carries with it special responsibilities. Both
                                                                      an interpretation adopted by the sponsors of the 1940
associations either separately or jointly have consistently
                                                                      “Statement” immediately following its endorsement:
affirmed these responsibilities in major policy statements,
providing guidance to professors in their utterances as citizens,        If the administration of a college or university feels that a
in the exercise of their responsibilities to the institution and to      teacher has not observed the admonitions of paragraph 3 of the
students, and in their conduct when resigning from their                 section on Academic Freedom and believes that the extramural
institution or when undertaking government-sponsored                     utterances of the teacher have been such as to raise grave
research. Of par tic ular relevance is the “Statement on                 doubts concerning the teacher’s fitness for his or her position,
Professional Ethics” adopted in 1966 as Association policy               it may proceed to file charges under paragraph 4 of the section
(AAUP, Policy Documents and Reports, 11th ed. [Balti-                    on Academic Tenure. In pressing such charges, the administra-
more: Johns Hopkins University Press, 2015], 145– 46).                   tion should remember that teachers are citizens and should be


14
 Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 6 of 27
Academic Tenure                                                             probationary period should not exceed seven
After the expiration of a probationary period,                              years, including within this period full-time
teachers or investigators should have permanent                             service in all institutions of higher education;
or continuous tenure, and their service should be                           but subject to the proviso that when, after a
terminated only for adequate cause, except in the                           term of probationary service of more than
case of retirement for age, or under extraordinary                          three years in one or more institutions, a
circumstances because of financial exigencies.                              teacher is called to another institution, it may
    In the interpretation of this principle it is                           be agreed in writing that the new appointment
understood that the following represents accept-                            is for a probationary period of not more than
able academic practice:                                                     four years, even though thereby the person’s
                                                                            total probationary period in the academic
1. The precise terms and conditions of every
                                                                            profession is extended beyond the normal
   appointment should be stated in writing and be
                                                                            maximum of seven years.8 Notice should be
   in the possession of both institution and
                                                                            given at least one year prior to the expiration
   teacher before the appointment is
                                                                            of the probationary period if the teacher is not
   consummated.
                                                                            to be continued in service after the expiration
2. Beginning with appointment to the rank of
                                                                            of that period.9
   full-time instructor or a higher rank,7 the


    accorded the freedom of citizens. In such cases the administra-      Personnel Ineligible for Tenure,” AAUP Bulletin 52
    tion must assume full responsibility, and the American               (September 1966): 280– 82.]
    Association of University Professors and the Association of               8. Sixth 1970 comment: In calling for an agreement “in
    American Colleges are free to make an investigation.                 writing” on the amount of credit given for a faculty
                                                                         member’s prior ser vice at other institutions, the “Statement”
    Paragraph 3 of the section on Academic Freedom in the
                                                                         furthers the general policy of full understanding by the
1940 “Statement” should also be interpreted in keeping with
                                                                         professor of the terms and conditions of the appointment. It
the 1964 “Committee A Statement on Extramural
                                                                         does not necessarily follow that a professor’s tenure rights
Utterances,” Policy Documents and Reports, 31, which states
                                                                         have been violated because of the absence of a written
inter alia: “The controlling principle is that a faculty
                                                                         agreement on this matter. Nonetheless, especially because of
member’s expression of opinion as a citizen cannot constitute
                                                                         the variation in permissible institutional practices, a written
grounds for dismissal unless it clearly demonstrates the
                                                                         understanding concerning these matters at the time of
faculty member’s unfitness for his or her position.
                                                                         appointment is particularly appropriate and advantageous to
Extramural utterances rarely bear upon the faculty
                                                                         both the individual and the institution. [For a more detailed
member’s fitness for the position. Moreover, a final decision
                                                                         statement on this question, see “On Crediting Prior Ser vice
should take into account the faculty member’s entire record
                                                                         Elsewhere as Part of the Probationary Period,” Policy
as a teacher and scholar.”
                                                                         Documents and Reports, 167– 68.]
    Paragraph 5 of the “Statement on Professional Ethics,”
                                                                              9. Seventh 1970 comment: The effect of this subpara-
Policy Documents and Reports, 146, also addresses the
                                                                         graph is that a decision on tenure, favorable or unfavorable,
nature of the “special obligations” of the teacher:
                                                                         must be made at least twelve months prior to the completion
    As members of their community, professors have the rights            of the probationary period. If the decision is negative, the
    and obligations of other citizens. Professors measure the            appointment for the following year becomes a terminal one.
    urgency of these obligations in the light of their responsibili-     If the decision is affirmative, the provisions in the 1940
    ties to their subject, to their students, to their profession, and   “Statement” with respect to the termination of ser vice of
    to their institution. When they speak or act as private persons,     teachers or investigators after the expiration of a probation-
    they avoid creating the impression of speaking or acting for         ary period should apply from the date when the favorable
    their college or university. As citizens engaged in a profession     decision is made.
    that depends upon freedom for its health and integrity,                   The general principle of notice contained in this
    professors have a partic ular obligation to promote conditions       paragraph is developed with greater specificity in the
    of free inquiry and to further public understanding of               “Standards for Notice of Nonreappointment,” endorsed by
    academic freedom.                                                    the Fiftieth Annual Meeting of the American Association
                                                                         of University Professors (1964) (Policy Documents and
    Both the protection of academic freedom and the
                                                                         Reports, 99). These standards are:
requirements of academic responsibility apply not only to
the full-time probationary and the tenured teacher, but also                Notice of nonreappointment, or of intention not to recommend
to all others, such as part-time faculty and teaching                       reappointment to the governing board, should be given in
assistants, who exercise teaching responsibilities.                         writing in accordance with the following standards:
    7. Fifth 1970 comment: The concept of “rank of full-time                1. Not later than March 1 of the first academic year of
instructor or a higher rank” is intended to include any                         ser vice, if the appointment expires at the end of that year;
person who teaches a full-time load regardless of the                           or, if a one-year appointment terminates during an
teacher’s specific title. [For a discussion of this question, see               academic year, at least three months in advance of its
the “Report of the Special Committee on Academic                                termination.


                                                                                                                                         15
 Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 7 of 27
3. During the probationary period a teacher                               5. Termination of a continuous appointment
   should have the academic freedom that all                                 because of financial exigency should be
   other members of the faculty have.10                                      demonstrably bona fide.
4. Termination for cause of a continuous
   appointment, or the dismissal for cause of a                           Endorsers
   teacher previous to the expiration of a term                           Note: Groups that changed names subsequent to
   appointment, should, if possible, be considered                        endorsing the statement are listed under their
   by both a faculty committee and the governing                          current names.
   board of the institution. In all cases where the
                                                                          Association of American Colleges and
   facts are in dispute, the accused teacher should
                                                                             Universities ...................................................1941
   be informed before the hearing in writing of
                                                                          American Association of University
   the charges and should have the opportunity to
                                                                             Professors ......................................................1941
   be heard in his or her own defense by all
                                                                          American Library Association (adapted for
   bodies that pass judgment upon the case. The
                                                                             librarians) ......................................................1946
   teacher should be permitted to be accompanied
                                                                          Association of American Law Schools .............1946
   by an advisor of his or her own choosing who
                                                                          American Political Science Association ...........1947
   may act as counsel. There should be a full
                                                                          American Association for Higher
   stenographic record of the hearing available
                                                                             Education and Accreditation........................1950
   to the parties concerned. In the hearing of
                                                                          American Association of Colleges for
   charges of incompetence the testimony should
                                                                             Teacher Education.........................................1950
   include that of teachers and other scholars,
                                                                          Eastern Psychological Association ...................1950
   either from the teacher’s own or from other
                                                                          Southern Society for Philosophy and
   institutions. Teachers on continuous appoint-
                                                                             Psychology ....................................................1953
   ment who are dismissed for reasons not in-
                                                                          American Psychological Association ...............1961
   volving moral turpitude should receive their
                                                                          American Historical Association......................1961
   salaries for at least a year from the date of
                                                                          Modern Language Association .........................1962
   notification of dismissal whether or not they
                                                                          American Economic Association ......................1962
   are continued in their duties at the institution.11
                                                                          Agricultural and Applied Economic
                                                                             Association....................................................1962
     2.   Not later than December 15 of the second academic year of
                                                                          Midwest Sociological Society ...........................1963
          ser vice, if the appointment expires at the end of that year;
                                                                          Organization of American Historians .............1963
          or, if an initial two-year appointment terminates during
          an academic year, at least six months in advance of its
                                                                          Society for Classical Studies .............................1963
          termination.
                                                                          American Council of Learned Societies...........1963
     3.   At least twelve months before the expiration of an              American Sociological Association ..................1963
          appointment after two or more years in the institution.

     Other obligations, both of institutions and of individu-             American Association of University Professors and the
als, are described in the “Statement on Recruitment and                   Association of American Colleges in 1958. This interpretive
Resignation of Faculty Members,” Policy Documents and                     document deals with the issue of suspension, about which
Reports, 153– 54, as endorsed by the Association of                       the 1940 “Statement” is silent.
American Colleges and the American Association of                             The “Statement on Procedural Standards in Faculty
University Professors in 1961.                                            Dismissal Proceedings” provides: “Suspension of the
     10. Eighth 1970 comment: The freedom of probationary                 faculty member during the proceedings is justified only if
teachers is enhanced by the establishment of a regular                    immediate harm to the faculty member or others is
procedure for the periodic evaluation and assessment of the               threatened by the faculty member’s continuance. Unless
teacher’s academic performance during probationary status.                legal considerations forbid, any such suspension should be
Provision should be made for regularized procedures for the               with pay.” A suspension which is not followed by either
consideration of complaints by probationary teachers that                 reinstatement or the opportunity for a hearing is in effect a
their academic freedom has been violated. One suggested                   summary dismissal in violation of academic due process.
procedure to serve these purposes is contained in the                         The concept of “moral turpitude” identifies the
“Recommended Institutional Regulations on Academic                        exceptional case in which the professor may be denied a
Freedom and Tenure,” Policy Documents and Reports,                        year’s teaching or pay in whole or in part. The statement
79–90, prepared by the American Association of University                 applies to that kind of behavior which goes beyond simply
Professors.                                                               warranting discharge and is so utterly blameworthy as to
     11. Ninth 1970 comment: A further specification of the               make it inappropriate to require the offering of a year’s
academic due process to which the teacher is entitled under               teaching or pay. The standard is not that the moral
this paragraph is contained in the “Statement on Procedural               sensibilities of persons in the partic ular community have
Standards in Faculty Dismissal Proceedings,” Policy                       been affronted. The standard is behavior that would evoke
Documents and Reports, 91–93, jointly approved by the                     condemnation by the academic community generally.

16
 Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 8 of 27
Southern Historical Association ......................1963                 American Speech-Language-Hearing
American Studies Association ..........................1963                   Association....................................................1968
Association of American Geographers ............1963                       Association of Social and Behavioral
Southern Economic Association .......................1963                     Scientists .......................................................1968
Classical Association of the Middle West                                   College English Association..............................1968
   and South ......................................................1964    National College Physical Education
Southwestern Social Science Association ........1964                          Association for Men .....................................1969
Archaeological Institute of America ................1964                   American Real Estate and Urban Economics
Southern Management Association .................1964                         Association....................................................1969
American Theatre Association                                               Council for Philosophical Studies ....................1969
   (now dissolved) .............................................1964       History of Education Society............................1969
South Central Modern Language                                              American Musicological Society ......................1969
   Association....................................................1964     American Association of Teachers of
Southwestern Philosophical Society ................1964                       Spanish and Portuguese...............................1969
Council of Independent Colleges ......................1965                 Texas Community College Teachers
Mathematical Association of America .............1965                         Association....................................................1970
Arizona-Nevada Academy of Science ..............1965                       College Art Association of America.................1970
American Risk and Insurance Association ......1965                         Society of Professors of Education ...................1970
Academy of Management .................................1965                American Anthropological Association...........1970
American Catholic Historical Association.......1966                        Association of Theological Schools ..................1970
American Catholic Philosophical                                            Association of Schools of Journalism and
   Association .................................................. 1966        Mass Communication ..................................1971
Association for Education in Journalism                                    Academy of Legal Studies in Business .............1971
   and Mass Communication ...........................1966                  Americans for the Arts .....................................1972
Western History Association ...........................1966                New York State Mathematics Association
Mountain-Plains Philosophical Conference ....1966                             of Two-Year Colleges ....................................1972
Society of American Archivists .......................1966                 College Language Association ..........................1973
Southeastern Psychological Association ..........1966                      Pennsylvania Historical Association................1973
Southern States Communication                                              American Philosophical Association................ 1974
   Association....................................................1966     American Classical League ............................... 1974
American Mathematical Society ......................1967                   American Comparative Literature
Association for Slavic, East European,                                        Association.................................................... 1974
   and Eurasian Studies ....................................1967           Rocky Mountain Modern Language
College Theology Society .................................1967                Association.................................................... 1974
Council on Social Work Education ...................1967                   Society of Architectural Historians .................1975
American Association of Colleges of                                        American Statistical Association......................1975
   Pharmacy ......................................................1967     American Folklore Society ...............................1975
American Academy of Religion .......................1967                   Association for Asian Studies ...........................1975
Association for the Sociology of Religion .......1967                      Linguistic Society of America ..........................1975
American Society of Journalism School                                      African Studies Association .............................1975
   Administrators (now merged with the                                     American Institute of Biological Sciences .......1975
   Association of Schools of Journalism                                    North American Conference on British
   and Mass Communication) ..........................1967                     Studies ...........................................................1975
John Dewey Society ..........................................1967          Sixteenth-Century Society and Conference ...1975
South Atlantic Modern Language                                             Texas Association of College Teachers ............. 1976
   Association....................................................1967     Association for Jewish Studies ......................... 1976
American Finance Association .........................1967                 Association for Spanish and Portuguese
Association for Social Economics .....................1967                    Historical Studies ......................................... 1976
Phi Beta Kappa Society .....................................1968           Western States Communication Association ..... 1976
Society of Christian Ethics ...............................1968            Texas Association of Colleges for Teacher
American Association of Teachers                                              Education.......................................................1977
   of French .......................................................1968   Metaphysical Society of America.....................1977
Eastern Finance Association .............................1968              American Chemical Society .............................1977
American Association for Chinese Studies .....1968                         Texas Library Association.................................1977
American Society of Plant Biologists...............1968                    American Society for Legal History ................1977
University Film and Video Association ...........1968                      Iowa Higher Education Association .................1977
American Dialect Society .................................1968             American Physical Therapy Association .........1979

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 Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 9 of 27
North Central Sociological Association ...........1980                        Council of Teachers of Southeast
Dante Society of America .................................1980                   Asian Languages ..........................................1994
Association for Communication                                                 American Association of Teachers of Arabic ...1994
    Administration .............................................1981          American Association of Teachers of
National Communication Association .............1981                             Japanese .........................................................1994
American Association of Physics Teachers ......1982                           Academic Senate for California
Middle East Studies Association ......................1982                       Community Colleges ...................................1996
National Education Association........................1985                    National Council for the Social Studies...........1996
American Institute of Chemists .......................1985                    Council of Academic Programs in
American Association of Teachers                                                 Communication Sciences and Disorders ....1996
    of German .....................................................1985       Association for Women in Mathematics .........1997
American Association of Teachers of Italian ...1985                           Philosophy of Time Society ..............................1998
American Association for Applied                                              World Communication Association .................1999
    Linguistics.....................................................1986      The Historical Society .......................................1999
American Association for Cancer Education ...1986                             Association for Theatre in Higher Education ..1999
American Society of Church History ..............1986                         National Association for Ethnic Studies ..........1999
Oral History Association ..................................1987               Association of Ancient Historians ...................1999
Society for French Historical Studies ..............1987                      American Culture Association .........................1999
History of Science Society ................................1987               American Conference for Irish Studies ...........1999
American Association of Pharmaceutical                                        Society for Philosophy in the
    Scientists .......................................................1988       Contemporary World ...................................1999
American Association for Clinical                                             Eastern Communication Association ...............1999
    Chemistry .....................................................1988       Association for Canadian Studies
Council for Chemical Research ........................1988                       in the United States ......................................1999
Association for the Study of Higher                                           American Association for the History of
    Education.......................................................1988         Medicine....................................................... 2000
American Psychological Association ...............1989                        Missouri Association of Faculty Senates ........ 2000
Association for Psychological Science ..............1989                      Association for Symbolic Logic ....................... 2000
University and College Labor Education                                        American Society of Criminology ...................2001
    Association....................................................1989       American Jewish Historical Society ................2001
Society for Neuroscience ..................................1989               New England Historical Association ...............2001
Renaissance Society of America.......................1989                     Society for the Scientific Study of Religion ....2001
Society of Biblical Literature ............................1989               Society for German-American Studies ...........2001
National Science Teachers Association ............1989                        Society for Historians of the Gilded Age
Medieval Academy of America ........................1990                         and Progressive Era ......................................2001
American Society of Agronomy ......................1990                       Eastern Sociological Society .............................2001
Crop Science Society of America .....................1990                     Chinese Historians in the United States..........2001
Soil Science Society of America .......................1990                   Community College Humanities
International Society of Protistologists ...........1990                         Association....................................................2002
Society for Ethnomusicology ...........................1990                   Immigration and Ethnic History Society ........2002
American Association of Physicists                                            Society for Early Modern Catholic Studies .....2002
    in Medicine ...................................................1990       Academic Senate of the California State
Animal Behavior Society ..................................1990                   University .................................................... 2004
Illinois Community College Faculty                                            Agricultural History Society .......................... 2004
    Association....................................................1990       National Council for Accreditation
American Society for Theatre Research ..........1990                             of Teacher Education ................................... 2005
National Council of Teachers of English..........1991                         American Council on the Teaching
Latin American Studies Association ................1992                          of Foreign Languages .................................. 2005
Society for Cinema and Media Studies............1992                          Society for the Study of Social Biology .......... 2005
American Society for Eighteenth-Century                                       Society for the Study of Social Problems ....... 2005
    Studies ...........................................................1992   Association of Black Sociologists..................... 2005
Council of Colleges of Arts and Sciences.........1992                         Dictionary Society of North America ............ 2005
American Society for Aesthetics ......................1992                    Society for Buddhist-Christian Studies .......... 2005
Association for the Advancement                                               Society for Armenian Studies ......................... 2006
    of Baltic Studies ............................................1994        Society for the Advancement of
American Council of Teachers of Russian .......1994                              Scandinavian Study .................................... 2006


18
Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 10 of 27
American Physiological Society ...................... 2006                   Chinese Language Teachers Association .........2014
National Women’s Studies Association .......... 2006                         Coordinating Council for Women
National Coalition for History ........................ 2006                     in History......................................................2014
Society for Military History ........................... 2006                Ecological Society of America ..........................2014
Society for Industrial and Applied                                           Institute for American Religious and
   Mathematics ................................................ 2006             Philosophical Thought .................................2014
Association for Research on Ethnicity and                                    Italian American Studies Association ..............2014
   Nationalism in the Americas ..................... 2006                    Midwestern Psychological Association ............2014
Society of Dance History Scholars.................. 2006                     Modern Greek Studies Association ..................2014
Association of Literary Scholars, Critics,                                   National Association of Professors
   and Writers .................................................. 2006           of Hebrew......................................................2014
National Council on Public History ................ 2006                     National Council of Less Commonly
College Forum of the National Council of                                         Taught Languages ........................................2014
   Teachers of English...................................... 2006            Population Association of America ..................2014
Society for Music Theory ................................ 2006               Society for Italian Historical Studies ...............2014
Society for Historians of American                                           Society for Psychophysiological Research .......2014
   Foreign Relations......................................... 2006           Society for Romanian Studies ..........................2014
Law and Society Association ........................... 2006                 Society for Textual Scholarship........................2014
Society for Applied Anthropology .................. 2006                     Society for the History of Children and
American Society of Plant Taxonomists......... 2006                              Youth .............................................................2014
Society for the History of Technology ........... 2006                       Society for the Psychological Study
German Studies Association............................ 2006                      of Social Issues..............................................2014
Association of College and Research                                          Society for the Study of the Multi-Ethnic
   Libraries ........................................................2007        Literature of the United States ....................2014
Czechoslovak Studies Association....................2007                     Society of Civil War Historians .......................2014
American Educational Studies Association .....2007                           Society of Mathematical Psychology ...............2014
Southeastern Women’s Studies Association .. 2009                             Sociologists for Women in Society ..................2014
American Academy for Jewish Research .........2014                           Urban History Association ...............................2014
American Association for Ukrainian                                           World History Association ...............................2014
   Studies ...........................................................2014   American Educational Research
American Association of Italian Studies .........2014                            Association....................................................2014
American Theatre and Drama Society ............2014                          Labor and Working-Class History
Central European History Society ...................2014                         Association....................................................2014
Central States Communication Association ....2014                            Paleontological Society .....................................2014




                                                                                                                                                    19
Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 11 of 27


              Statement on Procedural Standards
              in the Renewal or Nonrenewal
              of Faculty Appointments
              The statement that follows, a revision of a statement originally adopted in 1971,
              was approved by the Association’s Committee A on Academic Freedom and
              Tenure, adopted by the Association’s Council in November 1989, and endorsed
              by the Seventy-Sixth Annual Meeting.

Except for special appointments clearly designated     discrimination for probationary faculty members
at the outset as involving only a brief association    have depended primarily upon the understanding
with the institution, all full-time faculty appoint-   and support of their tenured colleagues, the
ments are either with continuous tenure or             administration, and professional organizations,
probationary for tenure. Procedures bearing on         especially the American Association of University
the renewal or nonrenewal of probationary              Professors. In the Statement on Government of
appointments are this statement’s concern.             Colleges and Universities, the Association has
                                                       asserted that “faculty status and related matters
The Probationary Period: Standards and Criteria        are primarily a faculty responsibility; this area
The 1940 Statement of Principles on Academic           includes appointments, reappointments, decisions
Freedom and Tenure prescribes that “during the         not to reappoint, promotions, the granting of
probationary period a teacher should have the          tenure, and dismissal.” Collegial deliberation of
academic freedom that all other members of the         the kind envisioned by the Statement on Govern-
faculty have.” The Association’s Recommended           ment will minimize the risk of a violation of
Institutional Regulations on Academic Freedom          academic freedom, of improper discrimination,
and Tenure1 prescribe further that “all members        and of a decision that is arbitrary or based on
of the faculty, whether tenured or not, are entitled   inadequate consideration.
to protection against illegal or unconstitutional          Frequently, young faculty members have had
discrimination by the institution, or discrimina-      no training or experience in teaching, and their
tion on a basis not demonstrably related to the        first major research endeavor may still be
faculty member’s professional performance. . . .”      uncompleted at the time they start their careers as
A number of the rights of nontenured faculty           college teachers. Under these circumstances, it is
members provide support for their academic             particularly important that there be a probation-
freedom and protection against improper                ary period—a maximum of seven years under the
discrimination. They cannot, for example, be           1940 Statement of Principles on Academic
dismissed before the end of a term appointment         Freedom and Tenure—before tenure is granted.
except for adequate cause that has been demon-         Such a period gives probationary faculty members
strated through academic due process—a right           time to prove themselves, and their colleagues
they share with tenured members of the faculty.        time to observe and evaluate them on the basis of
If they assert that they have been given notice of     their performance in the position rather than on
nonreappointment in violation of academic              the basis only of their education, training, and
freedom or because of improper discrimination,         recommendations.
they are entitled to an opportunity to establish           Good practice requires that the institution
their claim in accordance with Regulation 10 of        (department, college, or university) define its
the Recommended Institutional Regulations.             criteria for reappointment and tenure and its
They are entitled to timely notice of nonreap-         procedures for reaching decisions on these
pointment in accordance with the schedule              matters. The 1940 Statement of Principles
prescribed in the statement on Standards for           prescribes that “the precise terms and conditions
Notice of Nonreappointment.2 Lacking the               of every appointment should be stated in writing
reinforcement of tenure, however, academic             and be in the possession of both institution and
freedom and protection against improper                teacher before the appointment is consummated.”

              94
Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 12 of 27
Moreover, fairness to probationary faculty               b. Opportunity to Submit Material
members prescribes that they be informed, early          Probationary faculty members should be
in their appointments, of the substantive and            advised of the time when decisions affecting
procedural standards that will be followed in            renewal and tenure are ordinarily made, and
determining whether or not their appointments            they should be given the opportunity to
will be renewed or tenure will be granted.               submit material that they believe will be
    The Association accordingly recommends:              helpful to an adequate consideration of their
                                                         circumstances.
1. Criteria and Notice of Standards
   Probationary faculty members should be                Observance of the practices and procedures
   advised, early in their appointment, of the        outlined above should minimize the likelihood of
   substantive and procedural standards generally     reasonable complaint if nontenured faculty
   accepted in decisions affecting renewal and        members are given notice of nonreappointment.
   tenure. Any special standards adopted by their     They will have been informed of the criteria and
   particular departments or schools should also      procedures for renewal and tenure; they will have
   be brought to their attention.                     been counseled by faculty colleagues; they will
                                                      have been given an opportunity to have all
The Probationary Period:                              material relevant to their evaluation considered;
Evaluation and Decision                               and they will have a timely decision representing
The relationship of the senior and junior faculty     the views of faculty colleagues.
should be one of colleagueship, even though
nontenured faculty members know that in time          Notice of Reasons
they will be judged by their senior colleagues.       Since 1971 it has been the Association’s position,
Thus the procedures adopted for evaluation and        reached after careful examination of advantages
possible notification of nonrenewal should not        and disadvantages, that nontenured faculty
endanger this relationship where it exists, and       members notified of nonreappointment should,
should encourage it where it does not. Nontenured     upon request, receive a statement of the reasons
faculty members should have available to them         for the decision. In reaching this position, the
the advice and assistance of their senior col-        Association considered the needs both of the
leagues; and the ability of senior colleagues to      institution and of the individual faculty member.
make a sound decision on renewal or tenure will           A major responsibility of the institution is to
be enhanced if an opportunity is provided for a       recruit and retain the best-qualified faculty within
regular review of the candidate’s qualifications.     its goals and means. In a matter of such funda-
A conjunction of the roles in counseling and          mental importance, the institution, through the
evaluation may be productive: for example, an         appropriate faculty agencies, must be accorded the
evaluation, whether interim or at the time of final   widest latitude consistent with academic freedom,
determination of renewal or tenure, should be         equal opportunity, and the standards of fairness.
presented in such a manner as to assist nonten-       The Association recognized that the requirement
ured faculty members as they strive to improve        of giving reasons could lead, however erroneously,
their performance.                                    to an expectation that the decision-making body
    Any recommendation regarding renewal or           must justify its decision. A notice of nonreappoint-
tenure should be reached by an appropriate            ment could thus become confused with dismissal
faculty group in accordance with procedures           for cause, and under these circumstances the
approved by the faculty. Because it is important      decision-making body could become reluctant to
to both the faculty member and the decision-          reach adverse decisions that might culminate in
making body that all significant information be       grievance procedures. As a result there was some
considered, the candidate should be notified that     risk that the important distinction between tenure
a decision is to be made regarding renewal of         and probation would be eroded.
appointment or the granting of tenure and                 Weighed against these important institutional
should be afforded an opportunity to submit           concerns, however, were the interests of the
material that the candidate believes to be relevant   individual faculty members. They could be
to the decision.                                      honestly unaware of the reasons for a negative
    The Association accordingly recommends:           decision, and the decision could be based on a
                                                      judgment of shortcomings which they could easily
2. a. Periodic Review
                                                      remedy if informed of them. A decision not to
   There should be provision for periodic review
                                                      renew an appointment could be based on errone-
   of a faculty member’s situation during the
                                                      ous information which the faculty member could
   probationary service.

                                                                                                         95
Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 13 of 27
readily correct if informed of the basis for the        situations, providing a statement of reasons, either
decision. Again, the decision could be based on         written or oral, should pose no difficulty, and such
considerations of institutional policy or program       a statement may in fact assist the faculty member
development that have nothing to do with the            in searching for a new position.
faculty member’s professional competence, and if            Should the faculty member, after weighing the
not informed of the reasons, the faculty member         considerations cited above, decide to request the
could mistakenly assume that a judgment of              reasons for the decision against reappointment,
inadequate performance has been made. In the            the reasons should be given. The faculty member
face of a persistent refusal to supply the reasons, a   also should have the opportunity to request a
faculty member may be more inclined to attribute        reconsideration by the decision-making body.
improper motivations to the decision-making                 The Association accordingly recommends:
body or to conclude that its evaluation has been
                                                        3. Notice of Reasons
based upon inadequate consideration. If the
                                                           In the event of a decision not to renew an
faculty member wished to request a reconsidera-
                                                           appointment, the faculty member should be
tion of the decision, or a review by another body,
                                                           informed of the decision in writing, and, upon
ignorance of the reasons for the decision would
                                                           request, be advised of the reasons which
create difficulties both in reaching a decision
                                                           contributed to that decision. The faculty
whether to initiate such a request and in present-
                                                           member should also have the opportunity to
ing a case for reconsideration or review.
                                                           request a reconsideration by the body or
    The Association’s extensive experience with
                                                           individual that made the decision.
specific cases since 1971 has confirmed its
conclusion that the reasons in support of the
                                                        Written Reasons
faculty member’s right to be informed outweigh
                                                        Having been given orally the reasons that
the countervailing risks. Every notice of nonre-
                                                        contributed to the decision against reappointment,
appointment, however, need not be accompanied
                                                        the faculty member, to avoid misunderstanding,
by a written statement of the reasons for nonreap-
                                                        may request that they be confirmed in writing.
pointment. It may not always be to the advantage
                                                        The faculty member may wish to petition the
of the faculty member to be informed of the
                                                        appropriate faculty committee, in accordance with
reasons for nonreappointment, particularly in
                                                        Regulation 10 of the Association’s Recommended
writing. The faculty member may be placed under
                                                        Institutional Regulations, to consider an allega-
obligation to divulge them to the appointing body
                                                        tion that the reasons given, or other reasons that
of another institution if it inquired. Similarly, a
                                                        were not stated, constitute a violation of academic
written record is likely to become the basis for
                                                        freedom or improper discrimination. The faculty
continuing responses by the faculty member’s
                                                        member may wish to petition a committee, in
former institution to prospective appointing bodies.
                                                        accordance with Regulation 16 of the Recom-
    At many institutions, moreover, the proce-
                                                        mended Institutional Regulations, to consider
dures of evaluation and decision may make it
                                                        a complaint that the decision resulted from
difficult, if not impossible, to compile a statement
                                                        inadequate consideration and was therefore unfair.
of reasons that precisely reflects the basis of the
                                                        The faculty member may believe that a written
decision. When a number of faculty members
                                                        statement of reasons might be useful in pursuing
participate in the decision, they may oppose a
                                                        a professional career.
reappointment for a variety of reasons, few or
                                                           If the department chair or other appropriate
none of which may represent a majority view. To
                                                        institutional officer to whom the request is made
include every reason, no matter how few have
                                                        believes that confirming the oral statement in
held it, in a written statement to the faculty
                                                        writing may be damaging to the faculty member
member may misrepresent the general view and
                                                        on grounds such as those cited earlier in this
damage unnecessarily both the morale and the
                                                        statement, it would be desirable for that officer to
professional future of the faculty member.
                                                        explain the possible adverse consequences of
    In many situations, of course, a decision not to
                                                        confirming the oral statement in writing. If, in
reappoint will not reflect adversely upon the
                                                        spite of this explanation, the faculty member
faculty member. An institution may, for example,
                                                        continues to request a written statement, the
find it necessary for financial or other reasons to
                                                        request should be honored.
restrict its offerings in a given department. The
                                                           The Association accordingly recommends:
acquisition of tenure may depend not only upon
satisfactory performance but also upon a long-          4. Written Reasons
term opening. Nonrenewal in these cases does not           If the faculty member expresses a desire to
suggest a serious adverse judgment. In these               petition the grievance committee (such as is

96
Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 14 of 27
   described in Regulations 10 and 16 of the              If a faculty member on probationary or other
   Association’s Recommended Institutional                nontenured appointment alleges that a decision
   Regulations), or any other appropriate                 against reappointment was based significantly on
   committee, to use its good offices of inquiry,         considerations that violate (1) academic freedom or
   recommendation, and report, or if the request          (2) governing policies on making appointments
   is made for any other reason satisfactory to the       without prejudice with respect to race, sex, religion,
   faculty member alone, the reasons given in             national origin, age, disability, marital status, or
   explanation of the nonrenewal should be                sexual orientation, the allegation will be given
   confirmed in writing.                                  preliminary consideration by the [insert name of
                                                          committee], which will seek to settle the matter by
Review Procedures: Allegations of Violation               informal methods. The allegation will be accompa-
of Academic Freedom or of Discrimination                  nied by a statement that the faculty member agrees
The best safeguard against a proliferation of             to the presentation, for the consideration of the
grievance petitions on a given campus is the              faculty committee, of such reasons and evidence as
observance of sound principles and procedures of          the institution may allege in support of its decision.
academic freedom and tenure and of institutional          If the difficulty is unresolved at this stage, and if the
government. Observance of the procedures                  committee so recommends, the matter will be heard
recommended in this statement—procedures                  in the manner set forth in Regulations 5 and 6,
that would provide guidance to nontenured                 except that the faculty member making the
faculty members, help assure them of a fair               complaint is responsible for stating the grounds
professional evaluation, and enlighten them               upon which the allegations are based, and the
concerning the reasons contributing to key                burden of proof will rest upon the faculty member.
decisions of their colleagues— should contribute          If the faculty member succeeds in establishing a
to the achievement of harmonious faculty                  prima facie case, it is incumbent upon those who
relationships and the development of well-                made the decision against reappointment to come
qualified faculties.                                      forward with evidence in support of their decision.
    Even with the best practices and procedures,          Statistical evidence of improper discrimination may
however, faculty members will at times think that         be used in establishing a prima facie case.
they have been improperly or unjustly treated and
                                                          The Association accordingly recommends:
may wish another faculty group to review a
decision of the faculty body immediately in-           5. Petition for Review Alleging an Academic
volved. The Association believes that fairness to         Freedom Violation or Improper Discrimination
both the individual and the institution requires          Insofar as the petition for review alleges a
that the institution provide for such a review            violation of academic freedom or improper
when it is requested. The possibility of a violation      discrimination, the functions of the committee
of academic freedom or of improper discrimina-            that reviews the faculty member’s petition
tion is of vital concern to the institution as a          should be the following:
whole, and where either is alleged it is of cardi-        a. to determine whether or not the notice of
nal importance to the faculty and the administra-            nonreappointment constitutes on its face a
tion to determine whether substantial grounds                violation of academic freedom or improper
for the allegation exist. The institution should             discrimination;
also be concerned to see that decisions respect-          b. to seek to settle the matter by informal
ing reappointment are based upon adequate                    methods;
consideration, and provision should thus be made          c. if the matter remains unresolved, to decide
for a review of allegations by affected faculty              whether or not the evidence submitted in
members that the consideration has been                      support of the petition warrants a recom-
inadequate.                                                  mendation that a formal proceeding be
    Because of the broader significance of a                 conducted in accordance with Regulations 5
violation of academic freedom or of improper                 and 6 of the Recommended Institutional
discrimination, the Association believes that the            Regulations, with the burden of proof
procedures to be followed in these two kinds of              resting upon the complaining faculty
complaints should be kept separate from a                    member.
complaint over adequacy of consideration.
Regulation 10 of the Recommended Institutional         Review Procedures: Allegations
Regulations provides a specific procedure for the      of Inadequate Consideration
review of complaints of academic freedom               Complaints of inadequate consideration are likely
violation or of discrimination:3                       to relate to matters of professional judgment,

                                                                                                                97
Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 15 of 27
where the department or departmental agency                      decide whether or not the facts merit a detailed
should have primary authority. For this reason,                  investigation; if the faculty member succeeds in
the basic functions of the review committee                      establishing a prima facie case, it is incumbent upon
should be to determine whether the appropriate                   those who made the decision to come forward with
faculty body gave adequate consideration to the                  evidence in support of their decision. Submission of
faculty member’s candidacy in reaching its                       a petition will not automatically entail investigation
decision and, if the review committee determines                 or detailed consideration thereof. The committee
otherwise, to request reconsideration by that                    may seek to bring about a settlement of the issue
body.                                                            satisfactory to the parties. If in the opinion of the
    It is easier to state what the standard “adequate            committee such a settlement is not possible or is not
consideration” does not mean than to specify in                  appropriate, the committee will report its findings
detail what it does. It does not mean that the                   and recommendations to the petitioner and to the
review committee should substitute its own                       appropriate administrative officer and faculty body,
judgment for that of members of the department                   and the petitioner will, upon request, be provided an
on the merits of whether the candidate should be                 opportunity to present the grievance to them. The
reappointed or given tenure.4 The conscientious                  grievance committee will consist of three [or some
judgment of the candidate’s departmental                         other number] elected members of the faculty. No
colleagues must prevail if the invaluable tradition              officer of administration will serve on the
of departmental autonomy in professional                         committee.
judgments is to prevail. The term “adequate
                                                                 The Association accordingly recommends:
consideration” refers essentially to procedural
rather than to substantive issues: Was the decision           6. Petition for Review Alleging
conscientiously arrived at? Was all available                    Inadequate Consideration
evidence bearing on the relevant performance of                  Insofar as the petition for review alleges
the candidate sought out and considered? Was                     inadequate consideration, the functions of the
there adequate deliberation by the department                    committee which reviews the faculty member’s
over the import of the evidence in light of the                  petition should be the following:
relevant standards? Were irrelevant and improper                 a. to determine whether the decision was the
standards excluded from consideration? Was the                      result of adequate consideration, with the
decision a bona fide exercise of professional                       understanding that the review committee
academic judgment? These are the kinds of                           should not substitute its judgment on the
questions suggested by the standard “adequate                       merits for that of the body or individual
consideration.”                                                     that made the decision;
    If, in applying this standard, the review                    b. to request reconsideration by the faculty
committee concludes that adequate consideration                     body when the committee believes that
was not given, its appropriate response should be                   adequate consideration was not given to
to recommend to the department that it assess the                   the faculty member’s qualifications (in
merits once again, this time remedying the                          such instances, the committee should
inadequacies of its prior consideration.                            indicate the respects in which it believes
    An acceptable review procedure, representing                    that consideration may have been inad-
one procedural system within which such                             equate); and
judgments may be made, is outlined in Regulation                 c. to provide copies of its report and recom-
16 of the Recommended Institutional Regula-                         mendation to the faculty member, the body
tions, as follows:                                                  or individual that made the decision, and
                                                                    the president or other appropriate adminis-
     If any faculty member alleges cause for grievance in
                                                                    trative officer.
     any matter not covered by the procedures described
     in the foregoing regulations, the faculty member
                                                              Notes
     may petition the elected faculty grievance commit-           1. AAUP, Policy Documents and Reports, 11th ed.
     tee [here name the committee] for redress. The           (Baltimore: Johns Hopkins University Press, 2015), 85.
     petition will set forth in detail the nature of the          2. Ibid., 99.
     grievance and will state against whom the grievance          3. Faculties processing complaints under Regula-
     is directed. It will contain any factual or other data   tions 10 and 16 may wish to secure the further advice of
     which the petitioner deems pertinent to the case.        the Association’s Washington office.
     Statistical evidence of improper discrimination,             4. As used here, “department” may refer to any
     including discrimination in salary, may be used in       institutional body or individual responsible for making
                                                              a recommendation or decision on reappointment.
     establishing a prima facie case. The committee will


98
                 Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 16 of 27


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       Recommended Institutional
        Regulations on Academic
          Freedom and Tenure
                                                                       (2018 REVISION)




The Recommended Institutional Regulations on Academic Freedom and Tenure sets forth, in language suitable
for use by an institution of higher education, rules that derive from the chief provisions and interpretations of
the 1940 Statement of Principles on Academic Freedom and Tenure and of the Statement on Procedural
Standards in Faculty Dismissal Proceedings. The Recommended Institutional Regulations was first formu-
lated by Committee A on Academic Freedom and Tenure in 1957. A revised and expanded text, approved by
Committee A in 1968, reflected the development of Association standards and procedures. Texts with further
revisions were approved by Committee A in 1972, 1976, 1982, 1990, 1999, 2005, 2006, 2009, 2013, and
2018. When such revisions have constituted a change in the Association’s policies, they have been adopted
by the Council.
    The current text is based upon the Association’s continuing experience in evaluating regulations actually in
force at particular institutions. It is also based upon further definition of the standards and procedures of the
Association over the years. The Association will be glad to assist in interpretation of the regulations or to con-
sult about their incorporation in, or adaptation to, the rules of a particular college or university.


Foreword
                                                                                                       will be supplied to the faculty member. Any
These regulations are designed to enable the [named
                                                                                                       subsequent extensions or modifications of an
institution] to protect academic freedom and tenure
                                                                                                       appointment, and any special understandings
and to ensure academic due process. The principles
                                                                                                       or any notices incumbent upon either party to
implicit in these regulations are for the benefit of all
                                                                                                       provide, will be stated or confirmed in writing,
who are involved with or are affected by the policies
                                                                                                       and a copy will be given to the faculty member.
and programs of the institution. A college or university
is a marketplace of ideas, and it cannot fulfill its                                              b. With the exception of special appointments
purposes of transmitting, evaluating, and extending                                                   clearly limited to a brief association with the
knowledge if it requires conformity with any ortho-                                                   institution, and reappointments of retired
doxy of content and method. In the words of the                                                       faculty members on special conditions, all
United States Supreme Court, “Teachers and students                                                   full-time faculty appointments are of two kinds:
must always remain free to inquire, to study and to                                                   (1) probationary appointments; (2) appoint-
evaluate, to gain new maturity and understanding;                                                     ments with continuous tenure. All part-time
otherwise our civilization will stagnate and die.”                                                    faculty appointments are either (1) probationary
                                                                                                      appointments; (2) appointments with continuous
1. S tatement of Terms of A ppointment                                                                tenure; or (3) other nontenured appointments.
    a. The terms and conditions of every appointment                                             c. Except for faculty members who have tenure
        to the faculty will be stated or confirmed in writ-                                           status, every person with a teaching or research
        ing, and a copy of the appointment document                                                   appointment of any kind will be informed each


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        Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 17 of 27


Recommended Institutional Regulations on Academic Freedom and Tenure




         year in writing of the renewal of the appoint-              year, at least six months in advance of its ter-
         ment and of all matters relative to eligibility for         mination; (3) at least twelve months before the
         the acquisition of tenure.                                  expiration of an appointment after two or more
                                                                     years of service at the institution.
2. P robationary A ppointments                                    d. The institution will normally notify faculty
                                                                      members whose appointments are being
    a. Probationary appointments may be for one year,
                                                                      renewed of the terms and conditions of their
        or for other stated periods, subject to renewal.
                                                                      renewals by March 15, but in no case will such
        The total period of full-time service prior to the
                                                                      information be given later than _____.3
        acquisition of continuous tenure will not exceed
        ____ years,1 including all previous full-time             e. When a decision not to renew an appointment
        service with the rank of instructor or higher                 has been reached, the faculty member involved
        in other institutions of higher learning, except              will be informed of that decision in writing by
        that the probationary period may extend to as                 the body or individual making the decision; the
        much as four years, even if the total full-time               faculty member will be advised upon request of
        service in the profession thereby exceeds seven               the reasons which contributed to that decision.
        years; the terms of such extension will be stated             The faculty member may request a reconsid-
        in writing at the time of initial appointment.2               eration by the body or individual making the
        Scholarly leave of absence for one year or less               decision.
        will count as part of the probationary period
                                                                  f. I f the faculty member so requests, the reasons
        as if it were prior service at another institution,
                                                                      given in explanation of the nonrenewal will be
        unless the individual and the institution agree in
                                                                      confirmed in writing.
        writing to an exception to this provision at the
        time the leave is granted.                                g. Insofar as the faculty member alleges that the
                                                                      decision against renewal was based on inad-
    b. The faculty member will be advised, at the
                                                                      equate consideration, the committee4 that
        time of initial appointment, of the substantive
                                                                     reviews the faculty member’s allegation will
        standards and procedures generally employed in
                                                                     determine whether the decision was the result of
        decisions affecting renewal and tenure. Any spe-
                                                                     adequate consideration in terms of the relevant
        cial standards adopted by the faculty member’s
                                                                     standards of the institution. The review commit-
        department or school will also be transmitted.
                                                                     tee will not substitute its judgment on the merits
        The faculty member will be advised of the time
                                                                     for that of the body or individual that made the
        when decisions affecting renewal or tenure are
                                                                     decision. If the review committee believes that
        ordinarily made and will be given the opportu-
                                                                     adequate consideration was not given to the
        nity to submit material believed to be helpful
                                                                     faculty member’s qualifications, it will recom-
        to an adequate consideration of the faculty
                                                                     mend reconsideration by the body or individual
        member’s circumstances.
                                                                     that made the decision, indicating the respects
    c. Regardless of the stated term or other provi-                in which it believes the consideration may have
        sions of any appointments, written notice that a             been inadequate. It will provide copies of its
        probationary appointment is not to be renewed                findings to the faculty member, the body or indi-
        will be given to the faculty member in advance               vidual that made the decision, and the president
        of the expiration of the appointment as follows:             or other appropriate administrative officer.
        (1) not later than March 1 of the first academic
        year of service if the appointment expires at the      3. Termination of A ppointment by
        end of that year; or, if a one-year appointment        Facult y M embers
        terminates during an academic year, at least           Faculty members may terminate their appointments
        three months in advance of its termination; (2)        effective at the end of an academic year, provided
        not later than December 15 of the second aca-          that they give notice in writing at the earliest possible
        demic year of service if the appointment expires       opportunity, but not later than May 15, or thirty days
        at the end of that year; or, if an initial two-year    after receiving notification of the terms of appointment
        appointment terminates during an academic              for the coming year, whichever date occurs later.


1 4 | 20 1 8 B UL L ETIN
           Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 18 of 27


                                       Recommended Institutional Regulations on Academic Freedom and Tenure




Faculty members may properly request a waiver of this              tion of appointments may occur involve
requirement of notice in case of hardship or in a situa-           considerations of educational policy,
tion where they would otherwise be denied substantial              including affirmative action, as well as of
professional advancement or other opportunity.                     faculty status, and should therefore be the
                                                                   primary responsibility of the faculty or of
4. Termination of A ppointments by the                             an appropriate faculty body.7 The faculty
I nstitution                                                       or an appropriate faculty body should
                                                                   also exercise primary responsibility in
   a. Termination of an appointment with continuous
                                                                   determining the criteria for identifying
       tenure, or of a probationary or other nonten-
                                                                   the individuals whose appointments are to
       ured appointment before the end of the speci-
                                                                   be terminated. These criteria may appro-
       fied term, may be effected by the institution
                                                                   priately include considerations of length
       only for adequate cause.
                                                                   of service.
   b. If termination takes the form of a dismissal                    The responsibility for identifying
       for cause, it will be pursuant to the provisions            individuals whose appointments are to
       specified in Regulation 5.                                  be terminated should be committed to a
                                                                   person or group designated or approved
Financial Exigency5                                                by the faculty. The allocation of this
                                                                   responsibility may vary according to the
   c. (1)	Termination of an appointment with
                                                                   size and character of the institution, the
           continuous tenure, or of a probationary or
                                                                   extent of the terminations to be made,
           other nontenured appointment before the
                                                                   or other considerations of fairness in
           end of the specified term, may occur under
                                                                   judgment. The case of a faculty member
           extraordinary circumstances because of a
                                                                   given notice of proposed termination
           demonstrably bona fide financial exigency,
                                                                   of appointment will be governed by the
           i.e., a severe financial crisis that fundamen-
                                                                   following provisions.]
           tally compromises the academic integrity of
           the institution as a whole and that cannot          (2)	Before any proposals for program discon-
           be alleviated by less drastic means.                     tinuance on grounds of financial exigency
                [Note: Each institution in adopting reg-            are made, the faculty or an appropriate fac-
           ulations on financial exigency will need to              ulty body will have opportunity to render
           decide how to share and allocate the hard                an assessment in writing of the institution’s
           judgments and decisions that are necessary               financial condition.
           in such a crisis.                                   		 [Note: Academic programs cannot
                As a first step, there should be an                 be defined ad hoc, at any size; programs
           elected faculty governance body, or a                    should be recognized academic units that
           body designated by a collective bargaining               existed prior to the declaration of finan-
           agreement, that participates in the deci-                cial exigency. The term “program” should
           sion that a condition of financial exigency              designate a related cluster of credit-bearing
           exists or is imminent and that all feasible              courses that constitute a coherent body of
           alternatives to termination of appointments              study within a discipline or set of related
           have been pursued, including expenditure                 disciplines. When feasible, the term should
           of one-time money or reserves as bridge                  designate a department or similar adminis-
           funding, furloughs, pay cuts, deferred-                  trative unit that offers majors and minors.]
           compensation plans, early-retirement
                                                                   (i)	The faculty or an appropriate faculty
           packages, deferral of nonessential capital
                                                                        body will have access to at least five
           expenditures, and cuts to noneducational
                                                                        years of audited financial statements,
           programs and services, including expenses
                                                                        current and following-year budgets,
           for administration.6
                                                                        and detailed cash-flow estimates for
                Judgments determining where within
                                                                        future years.
           the overall academic program termina-


                                                                                                2018 BULLE T IN | 1 5
        Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 19 of 27


Recommended Institutional Regulations on Academic Freedom and Tenure




                (ii)	In order to make informed recom-                     except in extraordinary circumstances
                      mendations about the financial impact                where a serious distortion of the academic
                      of program closures, the faculty or                  program would otherwise result.
                      an appropriate faculty body will have
                                                                       (5)	Before terminating an appointment because
                      access to detailed program, depart-
                                                                            of financial exigency, the institution, with
                      ment, and administrative-unit budgets.
                                                                            faculty participation, will make every effort
                (iii)	Faculty members in a program being                   to place the faculty member concerned
                       considered for discontinuance because                in another suitable position within the
                       of financial exigency will promptly be               institution.
                       informed of this activity in writing and
                                                                       (6)	In all cases of termination of appointment
                       provided at least thirty days in which
                                                                            because of financial exigency, the faculty
                       to respond to it. Tenured, tenure-track,
                                                                            member concerned will be given notice or
                       and contingent faculty members will be
                                                                            severance salary not less than as prescribed
                       informed and invited to respond.
                                                                            in Regulation 8.
         (3)	If the administration issues notice to a
                                                                       (7)	In all cases of termination of appointment
              particular faculty member of an intention
                                                                            because of financial exigency, the place
              to terminate the appointment because of
                                                                            of the faculty member concerned will not
              financial exigency, the faculty member will
                                                                            be filled by a replacement within a period
              have the right to a full hearing before a
                                                                            of three years, unless the released faculty
              faculty committee. The hearing need not
                                                                            member has been offered reinstatement and
              conform in all respects with a proceeding
                                                                            at least thirty days in which to accept or
              conducted pursuant to Regulation 5, but
                                                                            decline it.
              the essentials of an on-the-record adjudica-
              tive hearing will be observed. The issues in
                                                                  Discontinuance of Program or Department for
              this hearing may include the following:
                                                                  Educational Reasons8
                (i)	The existence and extent of the condi-
                                                                    d. Termination of an appointment with continuous
                     tion of financial exigency. The burden
                                                                        tenure, or of a probationary or other nonten-
                     will rest on the administration to prove
                                                                        ured appointment before the end of the speci-
                     the existence and extent of the condi-
                                                                        fied term, may occur as a result of bona fide
                     tion. The findings of a faculty commit-
                                                                        formal discontinuance of a program or depart-
                     tee in a previous proceeding involving
                                                                        ment of instruction. The following standards
                     the same issue may be introduced.
                                                                        and procedures will apply.
                (ii)	The validity of the educational judg-
                                                                       (1)	The decision to discontinue formally a
                      ments and the criteria for identification
                                                                            program or department of instruction
                      for termination; but the recommenda-
                                                                            will be based essentially upon educational
                      tions of a faculty body on these matters
                                                                            considerations, as determined primarily by
                      will be considered presumptively valid.
                                                                            the faculty as a whole or an appropriate
                (iii)	Whether the criteria are being properly              committee thereof.
                       applied in the individual case.                 		 [Note: “Educational considerations” do
                                                                            not include cyclical or temporary variations
         (4)	If the institution, because of financial
                                                                            in enrollment. They must reflect long-range
              exigency, terminates appointments, it will
                                                                            judgments that the educational mission of
              not at the same time make new appoint-
                                                                            the institution as a whole will be enhanced
              ments, except in extraordinary circum-
                                                                            by the discontinuance.]
              stances where a serious distortion in the
              academic program would otherwise result.                 (2)	Faculty members in a program being con-
              The appointment of a faculty member with                      sidered for discontinuance for educational
              tenure will not be terminated in favor of                     considerations will promptly be informed
              retaining a faculty member without tenure,                    of this activity in writing and provided at


1 6 | 20 1 8 B UL L ETIN
    Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 20 of 27


                                Recommended Institutional Regulations on Academic Freedom and Tenure




     least thirty days in which to respond to it.               institution’s failure to satisfy any of the
     Tenured, tenure-track, and contingent fac-                 conditions specified in Regulation 4d. In
     ulty members will be invited to participate                the hearing, a faculty determination that a
     in these deliberations.                                    program or department is to be discontin-
		 [Note: Academic programs cannot be                          ued will be considered presumptively valid,
     defined ad hoc, at any size; programs must                 but the burden of proof on other issues will
     be recognized academic units that existed                  rest on the administration.
     prior to the decision to discontinue them.
     The term “program” should designate a            Review
     related cluster of credit-bearing courses that     e. I n cases of termination of appointment, the gov-
     constitute a coherent body of study within             erning board will be available for ultimate review.
     a discipline or set of related disciplines.
     When feasible, the term should designate a       5. D ismissal P rocedures
     department or similar administrative unit
                                                        a. Adequate cause for a dismissal will be related,
     that offers majors and minors.]
                                                            directly and substantially, to the fitness of
(3)	Before the administration issues notice to a
                                                            faculty members in their professional capaci-
     faculty member of its intention to terminate
                                                            ties as teachers or researchers. Dismissal will
     an appointment because of formal discon-
                                                            not be used to restrain faculty members in their
     tinuance of a program or department of
                                                            exercise of academic freedom or other rights of
     instruction, the institution will make every
                                                            American citizens.9
     effort to place the faculty member concerned
     in another suitable position. If placement         b. Dismissal of a faculty member with continu-
     in another position would be facilitated by            ous tenure, or with a probationary or other
     a reasonable period of training, financial             nontenured appointment before the end of the
     and other support for such training will be            specified term, will be preceded by (1) discus-
     proffered. If no position is available within          sions between the faculty member and appro-
     the institution, with or without retraining,           priate administrative officers looking toward a
     the faculty member’s appointment then                  mutual settlement; (2) informal inquiry by the
     may be terminated, but only with provi-                duly elected faculty committee [insert name of
     sion for severance salary equitably adjusted           committee], which may, if it fails to effect an
     to the faculty member’s length of past and             adjustment, determine whether in its opinion
     potential service, an amount which may                 dismissal proceedings should be undertaken,
     well exceed but not be less than the amount            without its opinion being binding upon the
     prescribed in Regulation 8.                            president; (3) a statement of charges, framed
		 [Note: When an institution proposes to                  with reasonable particularity by the president or
     discontinue a program or department of                 the president’s delegate.
     instruction based essentially on educational
                                                        c. A dismissal, as defined in Regulation 5a, will
     considerations, it should plan to bear the
                                                            be preceded by a statement of charges, and the
     costs of relocating, training, or otherwise
                                                            individual concerned will have the right to be
     compensating faculty members adversely
                                                            heard initially by the elected faculty hearing
     affected.]
                                                            committee [insert name of committee].10 Mem-
(4)	A faculty member who contests a proposed               bers deeming themselves disqualified for bias or
     relocation or termination resulting from a             interest will remove themselves from the case,
     discontinuance has a right to a full hearing           either at the request of a party or on their own
     before a faculty committee. The hearing                initiative. Each party will have a maximum of
     need not conform in all respects with a pro-           two challenges without stated cause.11
     ceeding conducted pursuant to Regulation
                                                           (1)	Pending a final decision by the hearing
     5, but the essentials of an on-the-record
                                                                committee, the faculty member will be
     adjudicative hearing will be observed. The
                                                                suspended, or assigned to other duties in
     issues in such a hearing may include the
                                                                lieu of suspension, only if immediate harm


                                                                                             2018 BULLE T IN | 1 7
        Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 21 of 27


Recommended Institutional Regulations on Academic Freedom and Tenure




                to the faculty member or others is threat-       (7)	A verbatim record of the hearing or hear-
                ened by continuance. Before suspending                ings will be taken, and a copy will be made
                a faculty member, pending an ultimate                 available to the faculty member without
                determination of the faculty member’s                 cost, at the faculty member’s request.
                status through the institution’s hearing
                                                                 (8)	The burden of proof that adequate cause
                procedures, the administration will consult
                                                                      exists rests with the institution and will be
                with the Faculty Committee on Academic
                                                                      satisfied only by clear and convincing evi-
                Freedom and Tenure [or whatever other
                                                                      dence in the record considered as a whole.
                title it may have] concerning the propriety,
                the length, and the other conditions of the      (9)	The hearing committee will grant adjourn-
                suspension. A suspension that is intended             ments to enable either party to investigate
                to be final is a dismissal and will be treated        evidence as to which a valid claim of sur-
                as such. Salary will continue during the              prise is made.
                period of the suspension.
                                                                 (10)	The faculty member will be afforded an
         (2)	The hearing committee may, with the                     opportunity to obtain necessary witnesses
              consent of the parties concerned, hold                  and documentary or other evidence. The
              joint prehearing meetings with the part-                administration will cooperate with the
              ies in order to (i) simplify the issues, (ii)           hearing committee in securing witnesses
              effect stipulations of facts, (iii) provide             and in making available documentary and
              for the exchange of documentary or other                other evidence.
              information, and (iv) achieve such other
                                                                 (11)	The faculty member and the administration
              appropriate prehearing objectives as
                                                                      will have the right to confront and cross-
              will make the hearing fair, effective, and
                                                                      examine all witnesses. Where the witnesses
              expeditious.
                                                                      cannot or will not appear, but the commit-
         (3)	Service of notice of hearing with specific              tee determines that the interests of justice
              charges in writing will be made at least                require admission of their statements,
              twenty days prior to the hearing. The                   the committee will identify the witnesses,
              faculty member may waive a hearing or                   disclose their statements, and, if possible,
              may respond to the charges in writing at                provide for interrogatories.
              any time before the hearing. If the faculty
                                                                 (12)	In the hearing of charges of incompetence,
              member waives a hearing, but denies the
                                                                      the testimony will include that of qualified
              charges or asserts that the charges do not
                                                                      faculty members from this or other institu-
              support a finding of adequate cause, the
                                                                      tions of higher education.
              hearing tribunal will evaluate all available
              evidence and rest its recommendation upon          (13)	The hearing committee will not be bound
              the evidence in the record.                             by strict rules of legal evidence and may
                                                                      admit any evidence which is of probative
         (4)	The committee, in consultation with the
                                                                      value in determining the issues involved.
              president and the faculty member, will exer-
                                                                      Every possible effort will be made to obtain
              cise its judgment as to whether the hearing
                                                                      the most reliable evidence available.
              should be public or private.
                                                                 (14)	The findings of fact and the decision will be
         (5)	During the proceedings the faculty mem-
                                                                      based solely on the hearing record.
              ber will be permitted to have an academic
              adviser and counsel of the faculty member’s        (15)	Except for such simple announcements
              choice.                                                 as may be required, covering the time of
                                                                      the hearing and similar matters, public
         (6)	At the request of either party or the hearing
                                                                      statements and publicity about the case
              committee, a representative of a responsible
                                                                      by either the faculty member or admin-
              educational association will be permitted to
                                                                      istrative officers will be avoided so far as
              attend the proceedings as an observer.
                                                                      possible until the proceedings have been


1 8 | 20 1 8 B UL L ETIN
           Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 22 of 27


                                      Recommended Institutional Regulations on Academic Freedom and Tenure




           completed, including consideration by the          b. If the administration believes that the conduct of
           governing board of the institution. The                a faculty member justifies imposition of a minor
           president and the faculty member will                  sanction, such as a reprimand, it will notify the
           be notified of the decision in writing and             faculty member of the basis of the proposed
           will be given a copy of the record of the              sanction and provide the faculty member with an
           hearing.                                               opportunity to persuade the administration that
                                                                  the proposed sanction should not be imposed.
      (16)	If the hearing committee concludes that
                                                                  A faculty member who believes that a major
           adequate cause for dismissal has not been
                                                                  sanction has been incorrectly imposed under this
           established by the evidence in the record,
                                                                  paragraph, or that a minor sanction has been
           it will so report to the president. If the
                                                                  unjustly imposed, may, pursuant to Regulation
           president rejects the report, the president
                                                                  16, petition the faculty grievance committee for
           will state the reasons for doing so, in writ-
                                                                  such action as may be appropriate.
           ing, to the hearing committee and to the
           faculty member and provide an opportunity
                                                           8. Terminal S al ary or N otice
           for response before transmitting the case to
                                                           If the appointment is terminated, the faculty member
           the governing board. If the hearing com-
                                                           will receive salary or notice in accordance with the
           mittee concludes that adequate cause for a
                                                           following schedule: at least three months, if the final
           dismissal has been established, but that an
                                                           decision is reached by March 1 (or three months prior
           academic penalty less than dismissal would
                                                           to the expiration) of the first year of probationary ser-
           be more appropriate, it will so recommend,
                                                           vice; at least six months, if the decision is reached by
           with supporting reasons.
                                                           December 15 of the second year (or after nine months
                                                           but prior to eighteen months) of probationary service;
6. A ction by the G overning B oard
                                                           at least one year, if the decision is reached after eigh-
If dismissal or other severe sanction is recommended,
                                                           teen months of probationary service or if the faculty
the president will, on request of the faculty member,
                                                           member has tenure.12
transmit to the governing board the record of the case.
                                                               This provision for terminal notice or salary need
The governing board’s review will be based on the
                                                           not apply in the event that there has been a finding
record of the committee hearing, and it will provide
                                                           that the conduct which justified dismissal involved
opportunity for argument, oral or written or both,
                                                           moral turpitude. On the recommendation of the fac-
by the principals at the hearing or by their representa-
                                                           ulty hearing committee or the president, the governing
tives. The decision of the hearing committee will
                                                           board, in determining what, if any, payments will be
either be sustained or the proceedings returned to the
                                                           made beyond the effective date of dismissal, may take
committee with specific objections. The committee will
                                                           into account the length and quality of service of the
then reconsider, taking into account the stated objec-
                                                           faculty member.
tions and receiving new evidence, if necessary. The
governing board will make a final decision only after
                                                           9. A cademic F reedom and P rotection against
study of the committee’s reconsideration.
                                                           D iscrimination
7. P rocedures for I mposition of S anctions                  a. All members of the faculty, whether tenured
O ther Than D ismissal                                            or not, are entitled to academic freedom as set
                                                                  forth in the 1940 Statement of Principles on
   a. If the administration believes that the conduct
                                                                  Academic Freedom and Tenure, formulated
       of a faculty member, although not constitut-
                                                                  by the Association of American Colleges and
       ing adequate cause for dismissal, is sufficiently
                                                                  Universities and the American Association of
       grave to justify imposition of a severe sanction,
                                                                  University Professors.
       such as suspension from service for a stated
       period, the administration may institute a pro-        b. All members of the faculty, whether tenured
       ceeding to impose such a severe sanction; the              or not, are entitled to protection against illegal
       procedures outlined in Regulation 5 will govern            or unconstitutional discrimination by the
       such a proceeding.                                         institution, or discrimination on a basis not
                                                                  demonstrably related to the faculty member’s


                                                                                                    2018 BULLE T IN | 1 9
        Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 23 of 27


Recommended Institutional Regulations on Academic Freedom and Tenure




         professional performance, including but not lim-     may be given for the duration of an election campaign
         ited to race, sex, religion, national origin, age,   or a term of office, on timely application, and
         disability, marital status, or sexual orientation.   for a reasonable period of time. The terms of such
                                                              leave of absence will be set forth in writing, and the
                                                              leave will not affect unfavorably the tenure status
10. C ompl aints of Viol ation of A cademic
                                                              of a faculty member, except that time spent on such
F reedom or of D iscrimination in
                                                              leave will not count as probationary service unless
N onreappointment
                                                              otherwise agreed to.13
If a faculty member on probationary or other non-
tenured appointment alleges that a decision against           13. Part-Time Facult y A ppointments 14
reappointment was based significantly on consid-
                                                                 a. After having been reappointed beyond an
erations that violate (a) academic freedom or (b)
                                                                     initial term, a part-time faculty member who
governing policies on making appointments without
                                                                     is subsequently notified of nonreappointment
prejudice with respect to race, sex, religion, national
                                                                     will be advised upon request of the reasons that
origin, age, disability, marital status, or sexual
                                                                     contributed to the decision. Upon the faculty
orientation, the allegation will be given preliminary
                                                                     member’s further request, the reasons will be
consideration by the [insert name of committee],
                                                                     confirmed in writing. The faculty member will
which will seek to settle the matter by informal
                                                                     be afforded opportunity for review of the deci-
methods. The allegation will be accompanied by
                                                                     sion by a faculty committee.
a statement that the faculty member agrees to the
presentation, for the consideration of the faculty com-          b. For part-time faculty members who have served
mittee, of such reasons and evidence as the institution              for three or more terms within a span of three
may allege in support of its decision. If the difficulty             years, the following additional protections of
is unresolved at this stage and if the committee so rec-             academic due process apply:
ommends, the matter will be heard in the manner set
                                                                    (1) Written notice of reappointment or non-
forth in Regulations 5 and 6, except that the faculty
                                                                         reappointment will be issued no later than
member making the complaint is responsible for stat-
                                                                         one month before the end of the existing
ing the grounds upon which the allegations are based
                                                                         appointment. If the notice of reappointment
and the burden of proof will rest upon the faculty
                                                                         is to be conditioned, for example, on suf-
member. If the faculty member succeeds in establish-
                                                                         ficiency of student enrollment or on financial
ing a prima facie case, it is incumbent upon those who
                                                                         considerations, the specific conditions will
made the decision against reappointment to come
                                                                         be stated with the issuance of the notice.
forward with evidence in support of their decision.
Statistical evidence of improper discrimination may be              (2) When the part-time faculty member is
used in establishing a prima facie case.                                 denied reappointment to an available
                                                                         assignment (one with substantially identical
11. A dministr ative P ersonnel                                          responsibilities assigned to another part-
The foregoing regulations apply to administrative                        time faculty member with less service), if the
personnel who hold academic rank, but only in their                      nonreappointed faculty member alleges that
capacity as faculty members. Administrators who                          the decision was based on inadequate con-
allege that a consideration that violates academic                       sideration, the allegation will be subject to
freedom or governing policies against improper dis-                      review by a faculty body. If this body, while
crimination, as stated in Regulation 10, significantly                   not providing judgment on the merits of the
contributed to a decision to terminate their appoint-                    decision, finds that the consideration has
ment to an administrative post or not to reappoint                       been inadequate in any substantial respects,
them are entitled to the procedures set forth in Regula-                 it will remand the matter for further consid-
tion 10.                                                                 eration accordingly.15
                                                                 c. P
                                                                     rior to consideration of reappointment beyond
12. P olitical A ctivities of Facult y M embers
                                                                    a seventh year, part-time faculty members who
Faculty members, as citizens, are free to engage in
                                                                    have taught at least twelve courses or six terms
political activities. Where necessary, leaves of absence


2 0 | 20 1 8 B UL L ETIN
          Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 24 of 27


                                       Recommended Institutional Regulations on Academic Freedom and Tenure




     within those seven years shall be provided a                 regarding teaching, research, or other academic
     comprehensive review with the potential result               duties. Dismissal will not be used to restrain
     of (1) appointment with part-time tenure [where              graduate student employees in their exercise of
     such exists], (2) appointment with part-time con-            academic freedom or constitutional rights.
     tinuing service, or (3) nonreappointment. Those
                                                               d. Written notice of reappointment or nonreap-
     appointed with tenure shall be afforded the same
                                                                   pointment will be issued to graduate student
     procedural safeguards as full-time tenured fac-
                                                                   academic or professional employees no later
     ulty. Those offered additional appointment with-
                                                                   than one month before the end of the existing
     out tenure shall have continuing appointments
                                                                   appointment.
     and shall not be replaced by part-time appointees
     with less service who are assigned substantially          e. Graduate student academic or professional
     identical responsibilities without having been                employees who are notified of nonreappoint-
     afforded the procedural safeguards associated                 ment will be advised upon request of the
     with dismissal as set forth in Regulation 5.                  reasons that contributed to the decision. Upon
                                                                   the employee’s further request, the reasons will
14. G r aduate S tudent E mployees                                 be confirmed in writing. The employee will be
  a. The length, terms, and conditions of every                   afforded the opportunity for review of the deci-
      university appointment of a graduate student                 sion by a duly constituted committee.
      employee will be stated in writing at the time
                                                               f. I n a case of nonreappointment, if a graduate
      of the initial appointment. A copy of the
                                                                   student academic or professional employee
      appointment document will be supplied to
                                                                   establishes a prima facie case to the satisfac-
      the appointee.16
                                                                   tion of a duly constituted committee that
  b. The graduate student employee on recurring                   considerations that violate academic freedom
      appointments will be advised at the time of                  or governing policies against improper discrimi-
      initial appointment of the substantive stan-                 nation based on race, sex, national origin, age,
      dards, expectations, and procedures generally                disability, marital status, or sexual orientation
      employed at the institution in decisions affecting           significantly contributed to his or her nonreten-
      renewal and of any special standards adopted                 tion, it is incumbent on those who made the
      by the graduate student employee’s department                decision to come forward with evidence in sup-
      or school. The graduate student employee will                port of that decision.
      be advised of the time when decisions affect-
                                                               g. If a graduate student employee who is denied
      ing renewals are made and will be given the
                                                                  reappointment to an available academic or
      opportunity to submit material believed to be
                                                                  professional position alleges that the decision
      helpful to an adequate consideration of his or
                                                                  was based on inadequate consideration, the
      her circumstances.
                                                                  allegation will be subject to review by a duly
  c. I n a case of dismissal before the end of the period        constituted body.18 If this body, while not pro-
      of an academic or professional appointment,                 viding judgment on the merits of the decision,
      the graduate student employee will be provided              finds that the consideration has been inadequate
      with a statement of reasons for the action and              in any substantial respects, it will remand the
      will have the right to a pretermination hearing             matter, recommending to the department that it
      before a duly constituted committee. The hearing            assess the merits once again, this time remedy-
      need not conform in all respects with a proceed-            ing the inadequacies of its prior consideration.19
      ing conducted pursuant to Regulation 5, but
                                                               h. Graduate student academic or professional
      the essentials of an on-the-record adjudicative
                                                                   employees will have access to the faculty griev-
      hearing will be observed. In such a hearing, the
                                                                   ance committee, as specified in Regulation 16.
      administration will have the burden of showing
      adequate cause for dismissal.17 Adequate cause
                                                             15. O ther A cademic S taff
      for a dismissal will be related, directly and sub-
      stantially, to the fitness of the graduate student       a. In no case will a member of the academic staff
      employee in his or her professional capacity                who is not otherwise protected by the preceding


                                                                                                   2018 BULLE T IN | 2 1
        Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 25 of 27


Recommended Institutional Regulations on Academic Freedom and Tenure




         regulations that relate to dismissal proceedings   Note on Implementation
         be dismissed without having been provided with     The Recommended Institutional Regulations here pre-
         a statement of reasons and an opportunity to be    sented will require for their implementation a number
         heard before a duly constituted committee.20 (A    of structural arrangements and agencies. For example,
         dismissal is a termination before the end of the   the Regulations will need support by
         period of appointment.)
                                                                 1. channels of communication among all the
    b. With respect to the nonreappointment of a                  involved components of the institution and
       member of such academic staff who establishes                between them and a concerned faculty member;
       a prima facie case to the satisfaction of a duly
                                                                 2. definitions of corporate and individual faculty
       constituted committee that considerations that
                                                                    status within the college or university govern-
       violate academic freedom, or of governing poli-
                                                                    ment and of the role of the faculty in decisions
       cies against improper discrimination as stated in
                                                                    relating to academic freedom and tenure; and
       Regulation 10, significantly contributed to the
       nonreappointment, the academic staff member               3. appropriate procedures for the creation and
       will be given a statement of reasons by those                operation of faculty committees, with particular
       responsible for the nonreappointment and an                  regard to the principles of faculty authority and
       opportunity to be heard by the committee.                    responsibility.
                                                            The forms which these supporting elements assume
16. G rievance P rocedure
                                                            will of course vary from one institution to another.
If any faculty member alleges cause for grievance in
                                                            Consequently, no detailed description of the elements
any matter not covered by the procedures described
                                                            is attempted in the Recommended Institutional
in the foregoing regulations, the faculty member may
                                                            Regulations. With respect to the principles involved,
petition the elected faculty grievance committee [here
                                                            guidance will be found in the Association’s Statement
name the committee] for redress. The petition will
                                                            on Government of Colleges and Universities. n
set forth in detail the nature of the grievance and will
state against whom the grievance is directed. It will
                                                            ////////////////////////////////////////////////////////////////////////////////////////
contain any factual or other data that the petitioner
deems pertinent to the case. Statistical evidence of
                                                            NOTES
improper discrimination, including discrimination
in salary, may be used in establishing a prima facie           1. Under the 1940 Statement of Principles on Academic Freedom
case. The committee will decide whether or not the          and Tenure, this period may not exceed seven years. However, the As-
facts merit a detailed investigation; if the faculty        sociation’s 2001 Statement of Principles on Family Responsibilities and
member succeeds in establishing a prima facie case,         Academic Work (AAUP, Policy Documents and Reports, 11th ed. [Balti-
it is incumbent upon those who made the decision            more: Johns Hopkins University Press, 2015], 339–46) provides that “a
to come forward with evidence in support of their           faculty member be entitled to stop the clock or extend the probationary
decision. Submission of a petition will not automati-       period, with or without taking a full or partial leave of absence, if the
cally entail investigation or detailed consideration        faculty member (whether male or female) is a primary coequal caregiver
thereof. The committee may seek to bring about a            of newborn or newly adopted children” and that “institutions allow the
settlement of the issue(s) satisfactory to the parties.     tenure clock to be stopped for up to one year for each child, and . . .
If in the opinion of the committee such a settlement        that faculty be allowed to stop the clock only twice, resulting in no more
is not possible or is not appropriate, the committee        than two one-year extensions of the probationary period.”
will report its findings and recommendations to                2. The exception here noted applies only to an institution where the
the petitioner and to the appropriate administrative        maximum probationary period exceeds four years.
officer and faculty body, and the petitioner will, upon        3. April 15 is the recommended date.
request, be provided an opportunity to present the             4. This committee, which can be the grievance committee noted in
grievance to them. The grievance committee will con-        Regulation 16, is to be an elected faculty body. Similarly, the members
sist of three [or some other number] elected members        of the committees noted in Regulations 4c(3), 4d(4), 10, and 13 are to
of the faculty. No officer of the administration will       be elected. A committee of faculty members appointed by an elected
serve on the committee.                                     faculty body can substitute for a committee that is elected directly.
                                                               5. See The Role of the Faculty in Conditions of Financial Exigency,



2 2 | 20 1 8 B UL L ETIN
               Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 26 of 27


                                                    Recommended Institutional Regulations on Academic Freedom and Tenure




in Policy Documents and Reports, 292–308. The definition of “financial          as probationary for tenure, see “The Applicability of the ‘Standards for
exigency” offered in that report and adopted here is intended to be             Notice of Nonreappointment’ to All Full-Time Faculty on Renewable
more responsive to actual institutional conditions and extends the stan-        Term Appointments,” in “Report of Committee A, 1994–95” (Academe,
dard of exigency to situations not covered by Committee A’s previous            September–October 1995, 51–54), which states:
definition.
                                                                                   While academic institutions commonly adhere to the Association’s
   6. See The Role of the Faculty in Budgetary and Salary Matters,
                                                                                   Standards for Notice of Nonreappointment with respect to faculty
in Policy Documents and Reports, 289–91, especially the following                  appointments that they recognize as probationary, in many cases
passages:                                                                          they have not considered those standards to be applicable to those
                                                                                   full-time faculty members whose service under non-tenure-track
   The faculty should participate both in the preparation of the total
                                                                                   appointments has involved more than “a brief association with the
   institutional budget and (within the framework of the total budget)
                                                                                   institution” and who continue to serve on annual appointments that
   in decisions relevant to the further apportioning of its specific fiscal
                                                                                   are indefinitely renewable at the discretion of the administration.
   divisions (salaries, academic programs, tuition, physical plant and
                                                                                   Typically, although the terms of their appointments may stipulate
   grounds, and so on). The soundness of resulting decisions should be
                                                                                   that they are for one year only, the faculty members are given reason
   enhanced if an elected representative committee of the faculty par-
                                                                                   to expect that, so long as they perform creditably and so long as
   ticipates in deciding on the overall allocation of institutional resources
                                                                                   enough courses remain available, the appointments will be renewed.
   and the proportion to be devoted directly to the academic program.
                                                                                   Frequently, however, at or near the end of an academic year, these
   This committee should be given access to all information that it
                                                                                   individuals are suddenly notified that their appointments are not in
   requires to perform its task effectively, and it should have the oppor-
                                                                                   fact being renewed for the following year. Despite what may have
   tunity to confer periodically with representatives of the administration
                                                                                   been an extended affiliation with the institution, the faculty members
   and governing board. . . .
                                                                                   are not viewed as entitled to the notice of nonreappointment that
       Circumstances of financial exigency obviously pose special prob-
                                                                                   would be given to colleagues who hold appointments designated as
   lems. At institutions experiencing major threats to their continued
                                                                                   probationary.
   financial support, the faculty should be informed as early and specifi-
                                                                                       Committee A considers all full-time faculty members holding
   cally as possible of significant impending financial difficulties. The
                                                                                   renewable term appointments, whatever their title or status, to be
   faculty—with substantial representation from its nontenured as well
                                                                                   entitled to notice of nonreappointment as called for in the Associa-
   as its tenured members, since it is the former who are likely to bear
                                                                                   tion’s recommended standards. We do not view it as necessary,
   the brunt of the reduction—should participate at the department,
                                                                                   or indeed as equitable, to deprive full-time “non-tenure-track”
   college or professional school, and institution-wide levels in key
                                                                                   faculty members of the safeguards that the standards for notice are
   decisions as to the future of the institution and of specific academic
                                                                                   intended to provide.
   programs within the institution. The faculty, employing accepted
   standards of due process, should assume primary responsibility for
                                                                                   13. See Statement on Professors and Political Activity, in Policy
   determining the status of individual faculty members.
                                                                                Documents and Reports, 39.
   7. See Statement on Government of Colleges and Universities,                    14. There should be no invidious distinctions between those who
in Policy Documents and Reports, 117–22, especially the following               teach and/or conduct research in higher education, regardless of
passage: “Faculty status and related matters are primarily a faculty re-        whether they hold full-time or part-time appointments or whether
sponsibility; this area includes appointments, reappointments, decisions        their appointments are tenured, tenure-track, or contingent. All faculty
not to reappoint, promotions, the granting of tenure, and dismissal. The        members should have access to the same due-process protections and
primary responsibility of the faculty for such matters is based upon the        procedures; Regulations 1–10, 12, and 16 therefore apply to all faculty
fact that its judgment is central to general educational policy.”               members. The reality however, is that distinctions do exist in the acad-
   8. When discontinuance of a program or department is mandated                emy. For that reason, Regulation 13 contains recommended provisions
by financial exigency of the institution, the standards of Regulation 4c,       that apply only to part-time faculty appointments. This regulation does
above, will apply.                                                              not apply to faculty members with reduced loads who are probationary
   9. For cause relating to physical or mental disability, see Accommo-         for tenure and who have the protections of academic due process that
dating Faculty Members Who Have Disabilities, in Policy Documents               are provided in Regulation 2. It does apply to all other faculty members
and Reports, 374–78.                                                            whose appointments are less than full time, regardless of rank or
   10. This committee should not be the same as the committee                   title and of whether they are paid on a pro-rata, per-course, or any
referred to in Regulation 5b(2).                                                other basis.
   11. Regulations of the institution should provide for alternates or             15. See Statement on Procedural Standards in the Renewal or Non-
for some other method of filling vacancies on the hearing committee             renewal of Faculty Appointments, in Policy Documents and Reports,
resulting from disqualification, challenge without stated cause, illness,       94–98, especially the following passages:
resignation, or other reason.
                                                                                   It is easier to state what the standard “adequate consideration” does
   12. For renewable term appointments not specifically designated
                                                                                   not mean than to specify in detail what it does. It does not mean that




                                                                                                                                     2018 BULLE T IN | 2 3
         Case 4:24-cv-40082-DHH Document 1-1 Filed 06/10/24 Page 27 of 27


Recommended Institutional Regulations on Academic Freedom and Tenure




   the review committee should substitute its own judgment for that of
   members of the department on the merits of whether the candidate
   should be reappointed or given tenure. The conscientious judgment
   of the candidate’s departmental colleagues must prevail if the invalu-
   able tradition of departmental autonomy in professional judgments
   is to prevail. The term “adequate consideration” refers essentially
   to procedural rather than to substantive issues: Was the decision
   conscientiously arrived at? Was all available evidence bearing on the
   relevant performance of the candidate sought out and considered?
   Was there adequate deliberation by the department over the import
   of the evidence in the light of the relevant standards? Were irrelevant
   and improper standards excluded from consideration? Was the deci-
   sion a bona fide exercise of professional academic judgment? These
   are the kinds of questions suggested by the standard “adequate
   consideration.”
         If, in applying this standard, the review committee concludes
   that adequate consideration was not given, its appropriate response
   should be to recommend to the department that it assess the merits
   once again, this time remedying the inadequacies of its prior consid-
   eration.

   16. Universities assume responsibilities when they accept graduate
students with a promise of financial support. Graduate student employ-
ees have a legitimate expectation of fulfillment of the promise unless
legitimate cause to terminate support is shown. If the cause relates to
the graduate student employee’s work and/or academic performance or
progress, the employee should be given sufficient time and opportunity
to address the concern.
   17. According to the Association’s Statement on Collective Bargain-
ing (Policy Documents and Reports, 323–24), “Participation in a strike
or other work action does not by itself constitute grounds for dismissal
or nonreappointment or for imposing other sanctions against faculty
members.”
   18. For comment on the term adequate consideration, see note 15,
above.
   19. Nonreappointment conditioned on inadequate academic perfor-
mance as a graduate student may be reviewed in the manner provided
in Committee A’s statement The Assignment of Course Grades and
Student Appeals, in Policy Documents and Reports, 29–30.
   20. Each institution should define with particularity who are members
of the academic staff.




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